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                UNITED STATES DISTRICT COURT
               MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA               :
                                       :
                    v                  :         3:16-CR-254

DAVID D. KLEPADLO                      :       (Judge Mannion)
DAVID D. KLEPALDO & ASSOC.
                                       :
             Defendants
                                   ORDER
         Although defendants’ counsel was aware this case was scheduled for
sentencing on September 1, 2020 since at least June 26, 2020, they chose
to file a lengthy sentencing memorandum supplement, together with
multiple exhibits on Friday, August 28, 2020, leaving one business day
before the sentencing. In reviewing the supplement and exhibits, new
arguments concerning the application of the sentencing guidelines are
made and additional information concerning upcoming scheduled medical
procedures for the defendant are brought to the court’s attention for the first
time. Experienced counsel would understand that many of those arguments
would reasonably require a response from the government. Given the
timing, length and content included in the supplement, one might readily
interpret it as sandbagging, at most, and professionally disappointing at
least.
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            Unfortunately, because the court feels the interests of justice make it
appropriate to allow the government time to respond in writing and because
the court feels it is in the defendant’s best interest to have his scheduled
September 24, 2020 medical procedure completed prior to sentencing, the
sentencing scheduled for September 1, 2020, is hereby continued. In light
of the foregoing, IT IS HEREBY ORDERED THAT:
            The Sentencing in the above captioned case is continued until

October 14, 2020 at 10:30 a.m. in the William J. Nealon Federal Building

and United States Courthouse, 235 North Washington Avenue, Scranton,

Pennsylvania in a Courtroom to be designated at a later time. Government

counsel are to respond to the Defendant’s Supplement to their sentencing

memorandum on or before September 18, 2020. Any additional written

submissions must be received by the court and opposing counsel on that

date unless otherwise approved by the court.




                                            S/Malachy E. Mannion
                                            MALACHY E. MANNION
                                            United States District Judge
Dated: August 31, 2020
16-254-03
